Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document     Page 1 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document     Page 2 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document     Page 3 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document     Page 4 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document     Page 5 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document     Page 6 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document     Page 7 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document     Page 8 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document     Page 9 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 10 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 11 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 12 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 13 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 14 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 15 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 16 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 17 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 18 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 19 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 20 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 21 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 22 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 23 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 24 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 25 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 26 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 27 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 28 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 29 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 30 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 31 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 32 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 33 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 34 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 35 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 36 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 37 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 38 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 39 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 40 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 41 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 42 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 43 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 44 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 45 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 46 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 47 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 48 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 49 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 50 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 51 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 52 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 53 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 54 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 55 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 56 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 57 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 58 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 59 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 60 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 61 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 62 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 63 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 64 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 65 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 66 of 67
Case 6:19-bk-16579-WJ   Doc 1 Filed 07/29/19 Entered 07/29/19 18:34:28   Desc
                        Main Document    Page 67 of 67
